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                                       Attorneys for Plaintiff
                                   7   Straight Path IP Group, Inc.

                                   8   Additional Counsel Listed On Signature Page

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                                                             IN THE UNITED STATES DISTRICT COURT
                                  11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                    SAN FRANCISCO DIVISION
                                  12
Northern District of California
 United States District Court




                                  13    STRAIGHT PATH IP GROUP, INC.,
                                                                                     Case No. C 16-03463 WHA
                                  14                          Plaintiff,             Case No. C 16-03582 WHA

                                  15           v.                                    JOINT STATUS REPORT REGARDING
                                                                                     ATTORNEY’S FEE AWARD
                                  16    APPLE INC.,

                                  17                          Defendant.

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                                   1          On May 19, 2020, the Court issued an Order adopting Special Master Matt Borden

                                   2   recommended awards of attorney’s fees payable to Defendants Apple Inc. and Cisco Systems, Inc.

                                   3          The Court further ordered the parties to provide status reports at thirty-day intervals

                                   4   regarding the awarded fees.

                                   5          Plaintiff has filed notices of appeal of the Court’s award as to both Apple and Cisco. The

                                   6   Federal Circuit has docketed the appeal as of July 6, 2020. Plaintiff moved to amend the case

                                   7   caption on the appeal to reflect that Straight Path has changed its name to “SPIP Litigation Group,

                                   8   LLC.” CAFC Case No. 2020-1962, Dkt. No. 25, Mot. to Amend Caption, Aug. 6, 2020. The

                                   9   Federal Circuit granted that motion on October 5, 2020. Plaintiff filed its substantive opening

                                  10   brief on October 8, 2020. Responsive briefs are due November 17, 2020.

                                  11          Plaintiff has not executed payment to Cisco on the Court’s judgment of attorneys’ fees of

                                  12   $1,920,146. Nor has Plaintiff secured a supersedeas bond. On July 16, 2020, Cisco filed an
Northern District of California
 United States District Court




                                  13   Application for Writ of Execution (Dkt. No. 253 in 3:16-cv-03463-WHA) and served Cisco’s First

                                  14   Set of Interrogatories to Straight Path Pursuant to Fed. R. Civ. P. 69 and Cal. Civ. Proc. § 708.020.

                                  15   The Clerk issued the Writ of Execution on July 21, 2020. (Dkt. No. 255 in 3:16-cv-03463-WHA.)

                                  16   On October 8, 2020, Cisco filed an Application for Writ of Execution to include the new name

                                  17   identified in the appeal. (Dkt. No. 258 in 3:16-cv-03463-WHA.) The Clerk issued the Writ of

                                  18   Execution on October 9, 2020. (Dkt. No. 259 in 3:16-cv-03463-WHA.)

                                  19          Plaintiff has not executed payment to Apple on the Court’s judgment of attorneys’ fees of

                                  20   $2,334,054. Nor has Plaintiff secured a supersedeas bond.

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                                  22   Dated: October 16, 2020

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                                       JOINT STATUS REPORT REGARDING ATTORNEY’S FEES
                                       CASE NOS. C 16-03582 WHA, C 16-03463
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     JOINT STATUS REPORT REGARDING ATTORNEY’S FEES
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     JOINT STATUS REPORT REGARDING ATTORNEY’S FEES
     CASE NOS. C 16-03582 WHA, C 16-03463
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                                   1                                       Attestation of Concurrence

                                   2          I hereby attest that concurrence in the filing of the document has been obtained from each
                                   3   of the other signatories, which shall serve in lieu of their signatures on the document.
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                                   5                                                 /s/ Brian D. Ledahl
                                                                                          Brian D. Ledahl
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Northern District of California
 United States District Court




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                                       JOINT STATUS REPORT REGARDING FEES DUE TO SPECIAL MASTER
                                       CASE NO. 3:16-CV-0003463-WA
                                   1                                 CERTIFICATE OF SERVICE
                                   2          I hereby certify that on October 16, 2020 the foregoing document described as was filed
                                   3   electronically via the Court’s Electronic Case Filing System (ECF). Notice of the filing is being
                                   4   served via ECF upon all counsel who have consented to electronic service.
                                   5

                                   6                                                        /s/ Brian D. Ledahl
                                                                                            Brian D. Ledahl
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Northern District of California
 United States District Court




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                                       JOINT STATUS REPORT REGARDING FEES DUE TO SPECIAL MASTER
                                       CASE NO. 3:16-CV-0003463-WA
